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                                       CLERK’S MINUTE SHEET
                             IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                    Before the Honorable Jerry H. Ritter

                                              Initial Appearance

Case Number:         19-1631 JB                        UNITED STATES vs. Bhula et al

Hearing Date:        6/19/2019                         Time In and Out:         11:26 am -11:37 am

Clerk:               C. Lopez                          Courtroom:               Rio Grande
                                                                                Kari Converse for Initial
Defendant:           Kamal Bhula                       Defendant’s Counsel:
                                                                                Only
AUSA                 Letitia Simms and Alex Uballez    Pretrial/Probation:      Delma Ramos

Interpreter:
Initial Appearance
☐       Defendant sworn

☒       Defendant received a copy of charging document

☒       Court advises defendant(s) of possible penalties and all constitutional rights

☒       Defendant wants Court appointed counsel

☒       Government moves to detain                      ☐      Government does not recommend detention

☒       Set for Arraignment/Detention Hearing          on June 20, 2019              @ 9:30 am
Preliminary/Show Cause/Identity
☐       Defendant

☐       Court finds probable cause                      ☐      Court does not find probable cause
Custody Status
☐       Defendant waives detention hearing
        Defendant remanded to custody of United
☒
        States Marshal's Service
☐       Conditions
Other
☐       Matter referred to      for final revocation hearing

☐
